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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF VERMONT

___________________________________________
                                                 )
Jane DOE,                                        )
                                                 )        Case No. 2:25-cv-00240-CR
        Petitioner/Plaintiff,                    )
                                                 )
v.                                               )
                                                 )
U.S. DEPARTMENT OF HOMELAND                      )
SECURITY; KRISTI NOEM, Secretary of the          )
U.S. Department of Homeland Security, in her     )
Official capacity; THERESA MESSIER,              )
Superintendent, Chittenden Regional Correctional )
Facility, in her official capacity,              )
                                                 )
        Respondents/Defendants.                  )
___________________________________________ )

                                   INDEX OF EXHIBITS

  A           Letter from Dr. Leond Peshkin, Harvard Medical School, dated February 23,
              2025

  B           Letter from Dr. Geneviève Almouzni, PhD, Centre de Recherche, dated February
              20, 2025

  C           Partially Completed Notcie and Order of Expedited Removal, Form I-860, dated
              February 16, 2025

  D           ICE Detainee Locator Page, dated February 22, 2025

  E           Email Correspondence between Gregory Romanovsky and Chief CBP Officer,
              Boston Logan Airport, dated February 21, 2025

  F           Email Correspondence between Gregory Romanovsky and David W. Johnston,
              dated February 20-21, 2025

  G           Request for Release submitted to U.S. Immigration and Customs Enforcement,
              dated February 2, 2025

  H           Request for Expedited Adjudication of Credible Fear Interview submitted to
              Newark Asylum Office, dated February 21, 2025




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